

People v Taylor (2025 NY Slip Op 00057)





People v Taylor


2025 NY Slip Op 00057


Decided on January 07, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 07, 2025

Before: Webber, J.P., Friedman, Mendez, Shulman, Rodriguez, JJ. 


Ind. No. 4887/15, 2682/16 Appeal No. 3431 Case No. 2023-05156 

[*1]The People of The State of New York, Respondent,
vClifford Taylor, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Barbara Zolot of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Nayeon K. Chung of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Michele S. Rodney, J.), rendered September 28, 2023,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 7, 2025
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








